               05-44481-rdd    Doc 9692-16           Filed 09/28/07 Entered 09/28/07 16:40:29 Exhibit F-4
      In re Delphi Corporation, et al.                       Pg 1 of 1         Twentieth Omnibus Claims Objection
      Case No. 05-44481 (RDD)
         EXHIBIT F-4 - ADJOURNED UNTIMELY BOOKS AND RECORDS CLAIMS
             CREDITOR'S NAME AND             CLAIM                   ASSERTED              DATE               DOCKETED
                   ADDRESS                  NUMBER                 CLAIM AMOUNT            FILED               DEBTOR


  TOWER AUTOMOTIVE INC                       16573              Secured:            UNL   03/14/2007   DELPHI AUTOMOTIVE
  200 E RANDOLPH DR                                              Priority:                             SYSTEMS LLC (05-44640)
  CHICAGO, IL 60601                                        Administrative:
                                                              Unsecured:            UNL
                                                                    Total:          UNL

                                   Total:      1                                    UNL




*UNL stands for unliquidated
                                                                      Page 1 of 1
